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 NOT FOR PUBLICATION


                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY



  RUTH T. MCLEAN,


          Plaintiff,
                                                           Civil Action No. 23-22842 (RK) (JBD)
                  V.


                                                                           OPINION
  AIMEE D. SUMTTRA, et al.,


          Defendants.




 KIRSCH, District Judse

         THIS MATTER comes before the Court upon a Motion to Dismiss the Second Amended


 Complaint filed by Defendants PNC Bank, N.A. ("PNC Bank"), Aimee D. Sumitra, and Thomas


 W. Morris (collectively, the "PNC Defendants"). ("Motion," ECF No. 59.) Plaintiff Ruth T.


 McLean ("Plaintiff), proceeding pro se, opposed the Motion (ECF Nos. 63, 64), and the PNC


 Defendants replied (ECF No. 65).1


         Having considered the parties' submissions, the Court resolves the pending Motion without


 oral argument pursuant to Federal Rule of Civil Procedure 78 and Local Civil Rule 78.1. For the


 reasons set forth below, the PNC Defendants' Motion to Dismiss the Second Amended Complaint


 (ECF No. 59) is GRANTED, and this case is DISMISSED against the PNC Defendants with

 prejudice. In addition, the Court sua sponte DISMISSES the Second Amended Complaint's




 1 After the PNC Defendants replied, Plaintiff filed a nine-page "Affidavit of Facts" in response to the PNC
 Defendants' briefing. (ECF No. 66.)
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 claims against the remaining Defendants, as the Court finds the Defendants were improperly


 joined.


 I. BACKGROUND

           A. THE FORECLOSURE ACTION


           Plaintiff has been engaged in a years-long litigation campaign— that has usurped the


 resources of state and federal courts in New Jersey alike—in an effort to halt a state court


 foreclosure action against her property in Plainsboro, New Jersey. On March 20, 2023, Defendant


 PNC Bank filed a Complaint in Foreclosure against Plaintiff in the Superior Court of New Jersey,


 Middlesex County, Chancery Division, General Equity (the "Foreclosure Action"). ("Reiley


 Cert.," ECF No. 59-2 at Ex. A); see PNC Bank, N.A. v. Ruth T. McLean, No. F-3424-23 (N.J.


 Super. Ct. Ch. Div. 2023). Without relying on the facts in the Complaint in Foreclosure for


purposes of deciding the Motion, the Complaint in Foreclosure alleges that on November 21,


 2016, Plaintiff borrowed $170,000 from Gateway Mortgage Group, LLC ("Gateway") and


 subsequently executed a note to Gateway on the same day. {Id. ^ 1) To secure payment of the


note, Plaintiff then allegedly signed and delivered a mortgage on her real property located at 143



2 The remaining Defendants are Joshua Hahn and U.S. Bank, N.A. (together, the "U.S. Bank Defendants"),
 as well as Caitlin M. Donnelly, Esq., J. Eric Kishbaugh, Esq., Richard P. Abel, Esq., Brian C. Nicholas,
Esq., Denise Carlon, Esq., and KML Law Group, P.C. (collectively, the "KML Defendants").

3 The Court may take "judicial notice of the state court proceedings, which are a matter of public record."
McDonald v. Jones, 427 F. App'x 84, 85 n.l (3d Cir. 2011).
4 Indeed, "[w]hile the Court may take judicial notice of each of these records, use of the records is limited.
When a court takes judicial notice of a document, it 'may ... not [be considered] for the truth of the matters
purportedly contained within those documents/" Roche v. Aetna, Inc., No. 22-00607, 2023 WL 3173394,
at *4 (D.N.J. May 1, 2023) (quoting Oran v. Stafford, 226 F.3d 275, 289 (3d Cir. 2000)).
5 Plaintiff attached the executed loan application to Gateway ("Loan," ECF No. 64-1) and note ("Note,"
ECF No. 64-2) to her Opposition to the PNC Defendants' Motion; the documents corroborate the
allegations in Defendant PNC Bank's Complaint in Foreclosure. See Mayer v. Belichick, 605 F.3d 223, 230
(3d Cir. 2010) (stating that at the motion to dismiss stage, a court may only consider "the complaint, exhibits
attached to the complaint, matters of public record, as well as undisputedly authentic documents if the
complainant's claims are based upon these documents"). Here, the SAG is clearly based on the Loan and
Note, and thus the Court will consider both in deciding this Motion.
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 Hampshire Drive, Plainsboro, New Jersey 08536. (Id. ^ 2-3.) The mortgage was thereafter


 assigned to PNC Bank, which brought the Foreclosure Action. (Id. ^ 2(b).)


          On January 12, 2024, the Honorable Lisa M. Vignuolo, P.J.Ch. granted PNC Bank's


 Motion for Summary Judgment and dismissed Plaintiffs "affirmative defenses and quiet title


 claim." (Reiley Cert. at Ex. C.) Judge Vignuolo ordered the matter "returned to the Office of


 Foreclosure as uncontested." (Id.) On June 13, 2024, Judge Vignuolo entered a Final Judgment for


 Foreclosure in favor ofPNC Bank. (M at Ex. D.) Plaintiff subsequently appealed the judgment to


 the Appellate Division on September 17, 2024 {see id. at Ex. E), and PNC Bank has represented it


 has moved to dismiss the appeal, with such motion currently pending before the Appellate


 Division. (ECFNo. 59-1 at 4.)


          Notably, on December 12, 2024, the Honorable Michael A. Toto, A.J.S.C. imposed


 restraints on Plaintiff's filings within the state court system, enjoining her from "filing any further


 civil complaints or motions in the Superior Court in the State of New Jersey against PNC Bank


 . . . until the complaint or motion has been reviewed by the Assignment Judge of Middlesex


 County." ("Supp. Reiley Cert.," ECF No. 65-1 at Ex. F at 2); see In the Matter of Ruth T. McLean,


 No. MID F-3424-23 (N.J. Super. Ct. Ch. Div. 2024). Judge Toto specifically found that:


          Ruth T. McLean filed approximately 18 applications in the instant foreclosure
          matter and 4 in a related case (MID-C-60-23), most of which are repetitive and
          procedurally deficient; and . . . Ruth T. McLean is a serial filer of motions in
          Chancery Division, General Equity Part duplicative of prior applications [] which
          do not raise new issues of merit and unfairly burdens the court system; and ... the
          imposition of monetary sanctions would not be successful in curtailing Ruth T.
          McLean's continued abuse of the litigation process.

 (Id. at 2.)
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         B. THE INSTANT FEDERAL ACTION6


         Plaintiffs serial filings in the instant matter are out of the same playbook as those in the


 Foreclosure Action, and all relate in some way to contesting the Foreclosure Action and the PNC


 Defendants' debt collection practices pursuant to the Foreclosure Action.7 Over the course of ten


 months, this Court not only dismissed what it deemed the "Operative Complaint" in the matter,


 but also denied Plaintiffs four Motions for Temporary Restraining Orders {see ECF Nos. 6, 11,


 17, 54), two Motions for Leave to Amend {see ECF Nos. 22, 40), and one Motion for Sanctions


 against PNC Bank and its counsel (see ECF No. 51).


         As relevant to this Motion, the Court notes that Plaintiff has filed or has proposed to file


 five different versions of a complaint in this matter. Plaintiff initially filed a 22-page Complaint


 and Request for Injunction against the PNC Defendants and the Ohio Secretary of State, the


 Pennsylvania Secretary of the Commonwealth, and the Delaware Secretary of State (together with


 the Ohio Secretary of State and Pennsylvania Secretary of the Commonwealth, the "Secretary of


 State Defendants") on November 30, 2023. (See ECF No. 1 at *3^.) The initial Complaint's


 allegations and claims were, charitably, difficult to discern. For example, the Complaint stated that


 Plaintiff brought the action under the "Fair Housing Act section 837, section 245, 701, National




 6 Pin-cites preceded by an asterisk refer to the page numbers in the CM/ECF header.
7 The SAG indicates this Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. § 1332
as the amount in controversy is "up to $150,000" (SAG at * 15), and the parties are citizens of different
states. {Id. ^ 1, 5-8 (indicating Plaintiff is a citizen of New Jersey, but Defendants are citizens of
Pennsylvania and Ohio).) The Court notes that the SAG does not allege the citizenship of Defendants U.S.
Bank and Joshua Hahn, but because the Court dismisses those Defendants as improperly joined, this is of
no concern.

8 Plaintiff has made a handful of other filings, including a 12-page "Writ of Removal," which sought the
same relief Plaintiff has consistently been denied by the Court—a stay of the Foreclosure Action. (See ECF
No. 49 at 1.) Plaintiff also filed a letter that requested the Court to subpoena documents from the PNC
Defendants in relation to Plaintiffs Motion for Sanctions. (ECF No. 53.)

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 Currency Act section et seq.[J 4l Amendment, Preamble to Constitution- Life, Liberty and pursuit


 ofHappines [sic]; Article for contracts." {Id. at *5.) Yet, two pages later, Plaintiff described the


 relief sought as:


         Damages sought for all the above factual claims possess actual prior court awarded
         damages: Coloring Title: Unlawful Note Negotiable Instrument Conversion:
         Consumer Fraud: Injunction against the State Court, MIDDLESEX COUNTY
         SUPERIOR COURT, CHANCERY DmSION, SWF-F-003424-23, venue has no
        jurisdiction based on the contract. may cause harm under Rooker-Feldman
         Doctrine.

 (M at *7.)

        Months later, Plaintiff continued her kitchen-sink approach to this litigation by filing two


 Proposed Amended Complaints. {See ECF No. 22 at * 3-8 (filing the proposed amendment as part


 of her first Motion for Leave to Amend; ECF No. 40 at * 1-2 (filing the proposed amendment as


 part of her second Motion for Leave to Amend).) The Proposed Amended Complaints sought to


 add new Defendants (Gateway First Bank and Freddie Mac) and different claims, including claims


 for "racketeering," "debt peonage-involuntary servitude," defamation, identity theft, "servicer


 misconduct," "transaction misrepresentation," and violation of consumer protection laws. (Id.)


 Without waiting for the Court to rule on either of Plaintiff s pending Motions for Leave to Amend,


 Plaintiff unilaterally filed her First Amended Complaint. (ECF No. 47.) The First Amended

 Complaint brought claims against only the PNC Defendants and "John and Jane Does 1-5" for


 violation of the Fair Debt Collection Practices Act ("FDCPA"), violation of the New Jersey Fair


 Credit Reporting Act, fraud, and civil conspiracy. (M)


        In granting Motions to Dismiss filed by Defendant Ohio Secretary of State and the PNC


 Defendants {see ECF Nos. 15, 48), the Court considered the allegations in both Plaintiffs initial


 Complaint (ECF No. 1) and First Amended Complaint (ECF No. 47) (together, the "Operative

 Complaint"), and found that (i) the 1793 Anti-Injunction Act prohibited the Court from enjoining
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 the Foreclosure Action; and (ii) the Operative Complaint failed to comply with Federal Rule of


 Civil Procedure 8's pleading standards, given that its allegations ranged from confusingly dense


 to skeletal and conclusory so as to fail under Ashcroft v. Iqbal, 556 U.S. 662 (2009). (ECF No. 55.)


 The Court permitted Plaintiff thirty days to file an amended pleading "that responded] to or


 cur[ed] the defects identified" in the Operative Complaint. (ECF No. 56.)


         Now, Plaintiff has filed an almost-entirely-brand-new Second Amended Complaint.


 ("SAG," ECF No. 57.) While still naming the PNC Defendants, the SAG names two new sets of


 Defendants: the U.S. Bank Defendants and KML Defendants.9 (Id.) The SAG alleges ten counts,


 most of which have never appeared in any of Plaintiffs proposed or actual pleadings to date:


 violation of the FDCPA (Count I), violation of the Real Estate Settlement Procedures Act


 ("RESPA") (Count II), violation of the Truth in Lending Act ("TELA") (Count HI), civil

 conspiracy (Count TV), violation of the New Jersey Consumer Fraud Act ("NJCFA") (Count V),


 violation of the New Jersey Truth-in-Consumer Contract, Warranty and Notice Act ("TCCWNA")


 (Count VI), negligence (Count VII), negligent infliction of "mental anguish emotional distress"


 (Count VIII), intentional infliction of emotion distress ("IIED") (Count DC), and negligent


 inflicdon of emotional distress (Count X). (Id. at 3-10.) Plaintiff seeks damages "up to $150,000,"


 as well as a "[d]eclaratory decision upon review of the Note as to whose obligation to pay interest,"


 and "the return of Plaintiff s Property." (Id. at 11.)


         The PNC Defendants filed a Motion to Dismiss the Second Amended Complaint on


 November 22, 2024. (ECF No. 59.) Plaintiff filed two separate oppositions to the Motion (ECF



 9 The KML Defendants are listed on the Foreclosure Action's Complaint in Foreclosure as counsel for PNC
 Bank. (See Reiley Cert. at Ex. A at 1.) The KML Defendants are the only group of Defendants who have
 not yet entered an appearance in this matter, but the Court notes that it may well be that none of the KML
 Defendants were properly served with process. It appears Plaintiff improperly served all the KML
 Defendants by sending unsigned summonses in one certified mailing to "PNC Bank N.A. c/o KLM [sic]
 Law Group P.C." at KML Law Group's business address. (See ECF No. 61 at *4.)
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 Nos. 63, 64),10 and the PNC Defendants replied. (ECF No. 65.) After the PNC Defendants replied,


 Plaintiff filed an "Affidavit of Facts" that is essentially a sur-reply to the PNC Defendants' Reply.


 (ECF No. 66.)

 II. LEGAL STANDARD

         A. FEDERAL RULES OF CIVIL PROCEDURE 18(A) AND 20(A)(2)

         Pursuant to Federal Rule of Civil Procedure ("Rule") 18(a), "[a] party asserting a claim. . .


 may join, as independent or alternative claims, as many claims as it has against an opposing party."


 Fed. R. Civ. P. 18(a). However, in a muld-defendant case such as this one, "the propriety ofjoinder


 is most directly controlled by the Rule 20 limits onjoinder of defendants." McKinney v. Hemsley,


 No. 14-3564, 2015 WL 5949846, at *3 (D.N.J. Oct. 9, 2015). Rule 20(a)(2) states that persons


 may be joined in one action as defendants where:


         (A) any right to relief is asserted against them jointly, severally, or in the alternative
         with respect to or arising out of the same transaction, occurrence, or series of
         transactions or occurrences; and

         (B) any question of law or fact common to all defendants will arise in the action.




 10 The Court observes that the two oppositions have very different tones, styles, formatting, and
 coherency—to the point where it stretches the bounds of credulity that they were both drafted by pro se
 Plaintiff. For example, Plaintiffs first opposition includes clear formatting and—while not necessarily on
 point—cogent analysis of some of the PNC Defendants' arguments in its Motion. {See ECF No. 63.)
 However, Plaintiff's second opposition is the complete opposite, opening with the paragraph:

         Affiant/Consumer/Guarantor/Payee/Plaintiff: I am Mclean, Ruth-T/agent control interest
         party of the RUTH T MCLEAN/principal person account named endorsement identified
         on the $170,000 Note and Mortgage for ownership interest acquired in the consumer
         principal dwelling instruments on November 21,2016.
 (ECF No. 64 at *2.) The Court notes that there are similar diverging tones, styles, formatting, and coherency
 between Plaintiffs initial Complaint {see ECF No. 1), First Amended Complaint {see ECF No. 47), and
 Second Amended Complaint (see ECF No. 57). This obviously concerns the Court, because beyond the
 myriad of professional and ethical issues with Plaintiff potentially retaining a lawyer but still representing
 that she is proceeding pro se, the Court will not hold pleadings drafted by a lawyer to the less-stringent
 standard afforded pro se litigants. See Cason v. Middlesex Cnty. Prosecutors' Off., No. 18-2101, 2022 WL
 2871195, at *3 (D.N.J. July 21, 2022). Nevertheless, given that the Court dismisses Plaintiff's Second
 Amended Complaint with prejudice here, it will afford Plaintiff leniency solely for purposes of disposing
 of the instant Motion.


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 Fed. R. Civ. P. 20(a)(2). While the requirements of Rule 20(a)(2) are to be "liberally construed,"


 they are not "license to join unrelated claims and defendants in one lawsuit." Fisher v. Camden


 Cnty. Corr. Facility, No. 21-13212, 2023 WL 4295770, at *3 (D.N.J. June 29, 2023) (quoting


 Rouse v. Starks, No. 16-3422, 2018 WL 707943, at *5 (D.N.J. Feb. 2,2018)). This would constitute


 improper j oinder.


        Where the Court finds that there has been improper joinder, "[o]n motion or on its own,


 the court may at any time, on just terms, add or drop a party. The court may also sever any claim


 against a party." Fed. R. Civ. P. 21. Where a court "drop[s]" an improperly joined party, "that


 defendant is dismissed from the case without prejudice." DirecTV, Inc. v. Leto, 467 F.3d 842, 845


 (3d Cir. 2006).

        B. FEDERAL RULE OF CIVIL PROCEDURE 8


        Federal Rule of Civil Procedure 8 requires a complaint to contain "a short and plain


statement of the claim showing that the pleader is entitled to relief." Fed. R. Civ. P. 8(a)(2). "Each


allegation must be simple, concise, and direct." Fed. R. Civ. P. 8(d)(l). Rule 8's purpose is to "give


the defendant fair notice of what the ... claim is and the grounds upon which it rests." Bell Ati.


Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting Conley v. Gibson, 355 U.S. 41, 47 (1957)).


While under Rule 8(a) plaintiffs are not required to set forth detailed factual allegations in thetr


complaints, they have an "obligation to provide the 'grounds' of [their] ' entitlement] to relief.'"


Id.


        C. FEDERAL RULE OF CIVIL PROCEDURE 12(B)(6)

        For a complaint to survive dismissal under Federal Rule of Civil Procedure 12(b)(6), it


must contain sufficient factual matter to state a claim that is "plausible on its face." As hero ft v.


Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 570). A claim is facially plausible
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 "when the plaintiff pleads factual content that allows the court to draw the reasonable inference


 that the defendant is liable for the misconduct alleged." Id. However, allegations that are "no more


 than conclusions" may be disregarded. M at 679. Restatements of the elements of a claim are legal


 conclusions, and therefore, are inadequate alone to survive dismissal. See Burtch v. Milberg


 Factors, Inc., 662 F.3d 212, 224 (3d Cir. 2011). The court accepts allegations in the complaint as


 true and gives the plaintiff "the benefit of every favorable inference to be drawn therefrom."


 Kulwicki v. Dawson, 969 F.2d 1454, 1462 (3d Cir. 1992). "Factual allegations must be enough to


 raise a right to relief above the speculative level." Twombly, 550 U.S. at 555.


 III. DISCUSSION

        The Court first addresses the improper joinder of the New Defendants before turning to the


 merits of the SAG as it applies to the remaining set of Defendants, the PNC Defendants.


        A. THE NEW DEFENDANTS


        "A district court may raise the issue of improper joinder sua sponte." Alfred v. New Jersey,


 No. 13-0332, 2015 WL 4138882, at *2 (D.N.J. July 9, 2015). For the first time in her Second


 Amended Complaint—and without seeking leave—Plaintiff seeks to bring claims against two new


 sets of Defendants: the U.S. Bank Defendants and the KML Defendants (together, the "New


 Defendants"). (See SAG at *2.) The crux of Plaintiffs allegations are that the U.S. Bank


 Defendants "failed [sic] obligation to pay interest on the Note," (id. ^ 17), and the KML Defendants


 "filed baseless legal actions to intimidate and unlawfully collect debts" (id. ^16). However, back


 when the Court permitted Plaintiff to file an amended pleading "that responded] to or cur[ed]


 the defects identified' in the Operative Complaint, (ECF No. 56 (emphasis added)), the only

 transaction at issue involved the PNC Defendants "act[ing] fraudulently and generating] false
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 certifications (individually and separately) in an attempt to collect debt from Plaintiff." {See ECF


 No. 47 ^ 10.)

         "A limited grant of leave to amend does not entitle Plaintiff [] to amend the complaint


 outside the scope of that leave." T.J. McDermott Transp. Co., Inc. v. Cummins, Inc., No. 14-4209,


 2017 WL 11476192, at *2 (D.N.J. Jan. 17,2017). Because Plaintiff was not granted leave to amend


 the Operative Complaint to add additional claims and Defendants in this matter, Plaintiffs


 amendments to add the New Defendants can be stricken pursuant to Federal Rule of Civil


 Procedure 15(a)(2). Fed. R. Civ. P. 15(a)(2) ("[A] party may amend its pleading only with the

 opposing party's written consent or the court's leave"); see Giles v. Med. Contractor CMS, No.


 09-045, 2009 WL 1024679, at *3 (D. Del. Apr. 15, 2009) ("Plaintiff may not add new claims or


 new defendants without seeking leave to amend.")


         Even so, Plaintiffs claims against each set of Defendants in this matter only appear to


 tenuously arise "out of the same transaction, occurrence, or series of transactions or occurrences."


 Fed. R. Civ. P. 20(a)(2)(A). While it appears Plaintiff is alleging the acts of Defendants all occurred


 in light of the Foreclosure Action, there is significant attenuation and scant overlap between (i) the


 U.S. Bank Defendants purportedly failing to pay interest on the Note; (ii) the KML Defendants


 opting to file purportedly "baseless legal actions" against Plaintiff, and (iii) the PNC Defendants


 "generating] false certifications." Indeed, it does not appear that these are the same transaction or


 occurrence. Id.; see Dougherty v. Dupes, No. 17-01541, 2018 WL 3869742,at *2 (M.D. Pa. Aug.


 15, 2018) ("Although the court anticipates that [pro se plaintiff] might offer the conclusory


 averment of an imagined overarching conspiracy, it would be inadequate to assuage this court that


 it should exercise its discretion to join these additional defendants in this action.") Thus, the Court




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  DISMISSES the SAG's claims as brought against the U.S. Bank Defendants and KML


  Defendants, as these New Defendants were improperly joined.


          B. THE PNC DEFENDANTS


          The Court finds that the SAG should be dismissed with prejudice against the remaining


  Defendants—the PNC Defendants—on three grounds: (i) the Anti-Injunction Act of 1793;


  (ii) statute of limitations; and (iii) failure to meet the elements of the claims underlying the SAG's

  Counts.11


                   1. Anti-Injunction Act of 1793


          Much like in the Operative Complaint, Plaintiff still seeks to have this Court enjoin the


  Foreclosure Action by having the Court order "the return of Plaintiff's property/ (SAG at *15.)


  As the Court made clear in its Opinion dismissing the Operative Complaint (ECF No. 55 at 14),


  the Anti-Injunction Act imposes "an absolute prohibition [] against enjoining state court


  proceedings, unless the injunction falls within one of three specifically defined exceptions." Ati.


  Coast Line R. Co. v. Bhd. of Locomotive Eng'rs, 398 U.S. 281, 286 (1970); see Chick Kam Choo




  n The PNC Defendants also renew their argument that the Court must abstain from hearing this matter
 pursuant to the Colorado River abstention doctrine as this matter is parallel to the Foreclosure Action. (ECF
 No. 59-1 at 9-14.) While the Court acknowledges the PNC Defendants provided additional support for their
 argument in the Motion, the Court remains skeptical that this matter has "substantially identical claims
  [and] nearly identical allegations and issues." (See ECF No. 55 at 14); Nationwide Mut. Fire Ins. Co. v.
  George V. Hamilton, Inc., 571 F.3d 299, 307 (3d Cir. 2009) (quoting Yang v. Tsui, 416 F.3d 199, 204 n.5
  (3d Cir. 2005)). The PNC Defendants sought a judgment of foreclosure in the Foreclosure Action {see
 Reiley Cert. at Ex. D); here, Plaintiff seeks damages (and to some extent, injunctive relief) in connection
  with the PNC Defendants' purported debt collection practices, {see SAG at * 15 (indicating Plaintiff seeks
  "compensatory/statutory damages . . . up to $150,000")). See also DeHart v. U.S. Bank, N.A. ND, 811 F.
  Supp. 2d 1038, 1046 (D.N.J. 2011) (finding a "state foreclosure action" that involved a bank defendant
  "seeking a judgment of foreclosure on property subject to a mortgage" not parallel to a federal action
  "seek[ing] only damages for various debt collection practices [that did] not seek to invalidate the foreclosure
 proceeding"). Therefore, the Court rejects the PNC Defendants' Colorado River arguments, but nonetheless
  dismisses the matter on other grounds.

  12 This is contrary to her Opposition to the PNC Defendants' Motion where she argues that "Plaintiff is not
  seeking to enjoin the state foreclosure action but rather seeks damages and declaratory relief for Defendants'
 violations of federal and state law." (ECF No. 63 at 5.)


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 v. Exxon Corp., 486 U.S. 140, 146 (1988) (noting the Act's three narrowly-read exceptions apply


 only "when expressly authorized by statute, necessary in aid of the court's jurisdiction, or


 necessary to protect or effectuate the court's judgment"). Here, the Court has already held that no


 exception to the Act applies {see ECF No. 55 at 15), and thus the Court is prohibited from enjoining


 the Foreclosure Action.


                  2. Statute of Limitations


          The PNC Defendants assert that the statute of limitations on Plaintiffs TELA claim (Count


 IV)—which relates back to a Loan and Note issued in 2016—has run, and thus, the claim is time-


 barred. See Calabria Ristorante, Inc. v. Ruggiero Seafood, Inc., 706 F. Supp. 3d 489, 511 (D.N.J.


 2023) ("The statute of limitations 'can serve as the basis for dismissal under Fed. R. Civ. P.


 12(b)(6), as long as the time alleged in the statement of a claim shows that the cause of action has


 not been brought within the statute of limitations.'" (quoting McPherson v. United States, 392 F.


 App'x 938, 943 (3d Cir. 2010)).

         Here, Plaintiffs TILA claim (Count HI) is based on several purported failures in disclosure


 by the PNC Defendants. (See, e.g. SAG ^ 36(a) ("Failure to Provide Right ofRecission Notices");


 36(b) ("Failure to Provide Rights to [CJredit").) It is true that the "TEA requires lenders to make


 certain disclosures to borrowers and gives borrowers a civil cause of action against creditors who


 violate these disclosure provisions." Ramadan v. Chase Manhattan Corp., 156 F.3d 499, 500 (3d


 Cir. 1998). However, a TILA claim based on the omissions of a lender "is subject to a one-year


 statute of limitations, which begins to run when the underlying contract is executed." Herzog v.




 13 Plaintiff's request to this Court to issue a "[d]eclaratory decision upon review of the Note as to whose
 obligation to pay interest" (SAG at * 15), would almost certainly disrupt the Foreclosure Action, and thus
 is also barred by the Anti-Injunction Act. See U.S. Steel Corp. Plan for Emp. Ins. Benefits v. Musisko, 885
 F.2d 1170, 1175 (3d Cir. 1989) ("Where, as here, declaratory relief would produce the same effect as an
 injunction, a declaratory judgment is barred . . .").


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 IndyMac Bank, FSB, No. 11-4571, 2011 WL 5513205, at *3 (D.NJ. Nov. 9, 2011) (citing 15

 U.S.C. § 1640(e)). As is clear from the Loan and Note, both documents were executed on


 November 21, 2016. (Loan at *3; Note at *2.) Thus, Plaintiffs TILA claim comes well outside the


 limitations period.


         In her Opposition, Plaintiff argues that "equitable tolling applies due to Defendants'


 fraudulent concealment of material facts." (ECF No. 63 at 7.) However, "[a] plaintiff who made


 the ordinary error of not reading a contract may not invoke the extraordinary remedy of equitable


 tolling." Aversano v. Santander Bank, N.A., 828 F. App'x 109, 110 (3dCir. 2020). Plaintiff alleges


 that "Defendants failed to disclose critical information about the loan, including the annual


 percentage rate (APR), finance charges, and the payment schedule." (ECF No. 63 at 7.) Yet, the


 very first page of the Note states that interest will be charged at a "yearly rate of 3.625%" and that


 payments will be made "on the 1st day of each month beginning on January 17, 2017" in the amount


 of "$775.29." (Note at *2.) The Note also lays out information about loan charges and late charges


 for overdue payments. (See id. at * 3.) Plaintiffs claim that Defendants "failed to disclose critical


 information about the loan" is belied by the Note's explicit terms. Count HI is untimely, and thus,


 DISMISSED.

                3. Failure to Meet the Elements of the Claims Underlying the SAC


        The PNC Defendants attack the substance of Plaintiff's remaining claims pursuant to Rule


 12(b)(6), arguing in sum that Plaintiff failed to allege one or more elements of the remaining


 Counts of the SAG.


                       i. Failure to Allege a "Debt Collector"

         To start, to make out an FDCPA claim (Count I), a plaintiff must allege, in part, that "the


 defendant is a debt collector." Barbato v. Grey stone All., LLC, 916 F.3d 260, 265 (3d Cir. 2019).


 However, the PNC Defendants argue that PNC Bank is not a debt collector, but rather, a creditor.

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 (ECF No. 59-1 at 16.) "Creditors—as opposed to debt collectors—generally are not subject to the


 FDCPA." Cooper v. Pressler & Pressler, LLP, 912 F. Supp. 2d 178, 184 (D.N.J. 2012) (internal


 citations omitted); see also Staub v. Harris, 626 F.2d 275, 277 (3d Cir. 1980) ("The [FDCPA] does

 not apply to persons or businesses collecting debts on their own behalf . . . It is directed to those


 persons who are engaged in business for the principal purpose of collecting debts.")


         Here, the SAG fails to allege that PNC Bank is a "debt collector," beyond a conclusory


 allegation that "Defendants, acting as debt collectors with respect to Plaintiffs mortgage debt,


 engaged in multiple violations of the FDCPA . . ." (SAG ^ 22.) While it appears to the Court that


 Defendant PNC Bank is clearly a creditor seeking to collect its own debt through the Foreclosure


 Action, Plaintiff nonetheless fails to support its "[t]hreadbare recital" of PNC Bank as a "debt


 collector" with sufficient facts for this Court to determine whether the FDCPA is applicable. See


 Saafir v. Bayview Loan Servicing, LLC, No. 17-3735, 2018 WL 1069413, at *3 (D.N.J. Feb. 26,


 2018), aff'd, 751 F. App'x 166 (3d Cir. 2018) (dismissing FDCPA claim where the "complaint

 simply d[id] not provide sufficient facts for [the] Court to determine whether [lender] [was] a 'debt


 collector' for purposes of the FDCPA"). Thus, the Court DISMISSES Count I.


                      ii. Failure to Allege Damages

        Plaintiffs RESPA claim (Count II) also fails. As part of making out a RESPA claim, a

 plaintiff must allege "actual damages to the borrower as a result of the failure to comply with [12


 U.S.C.] § 2605." Noel v. Bank of New York Mellon, No. 18-04798, 2019 WL 1434939, at *5


 (D.N.J. Apr. 1, 2019) (quoting Giordano v. MGCMortg., Inc., 160 F. Supp. 3d 778, 781 (D.N.J.


 2016)). Plaintiffs RESPA claim has two bases: (i) Defendants purportedly failed to acknowledge

 and take appropriate action on qualified written requests sent by Plaintiff; and (ii) Defendants


 allegedly engaged in a number of improper servicing practices, including mishandling payments,


 failing to correct billing errors, etc. (SAG ^31, 32.) Plaintiff further alleges that these violations

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  ofRESPA "caused confusion and financial harm to Plaintiff as well as "financial loss, emotional


  distress, mental anguish and an increased risk of foreclosure on her home." (Id. ^[ 32-33.)


          Plaintiff's broad and conclusory allegations of "financial loss," without any clear


  connection to the purported RESPA violations, amount to pleading a "bare violation." Mo v.


  JPMorgan Chase Bank, N.A., No. 14-387, 2021 WL 1608895, at *5 (D.N.J. Apr. 26, 2021).


  Indeed, "[i]f a plaintiff simply can allege that failure to respond to a letter caused distress, without


  more, any RESPA claim would survive a motion to dismiss." Giordano, 160 F. Supp. 3d at 781.


  Plaintiffs attempt to plead a causal connection between the purported RESPA violations and her


  conclusory harm by alleging the violations led to "a denial of credit for the consumer extension of


  credit for property or services not-delivered to the consumer or the consumer designee as agreed,"


  (SAG ^ 32), is vague, confusing, and insufficient to sustain a claim. Thus, Count II must be


 DISMISSED.

                       iii. Failure to Allege Unlawful Conduct or Contractual Provisions

         With respect to Plaintiffs NJCFA claim (Count V), the NJCFA "protects consumers


  against unethical practices and dealings in the marketing of merchandise and real estate." Monarch


  Life Ins. Co. v. Senior, No. 06-559, 2006 WL 3825138, at *4 (D.N.J. Dec. 22, 2006). To state an


 NJCFA claim, a plaintiff must allege "(I) unlawful conduct; (2) an ascertainable loss; and (3) a


 causal relationship between the defendants' unlawful conduct and the plaintiffs ascertainable


 loss." Int'l Union of Operating Eng'rs Loc. No. 68 Welfare Fund v. Merck & Co., 929 A.2d 1076,


  1086 (N.J. 2007) (cleaned up). An NJCFA claim is subject to Federal Rule of Civil Procedure

 9(b)'s heightened pleading standard, meaning the claim must "state with particularity the


 circumstances constituting fraud or mistake, although intent, knowledge, and other conditions of


 a person's mind may be alleged generally." Wright v. Ocwen Loan Servicing, LLC, No. 16-8989,




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 2019 WL 4013954, at *7 (D.N.J. Aug. 26, 2019) (quoting In re Lipitor Antitrust Litig., 868 F.3d


 231,249 (3d Cir. 2017)).

         The SAG fails to allege an NJCFA claim with Rule 9(b)'s required specificity. Plaintiff

 merely alleges:


         a. Unconscionable Commercial Practices: Defendants employed practices that were
         unethical, oppressive, and unscrupulous in connection with the sale of a consumer
         credit transaction for a Money Purchase Mortgage. Specifically, Defendants denial
         of credit adverse actions misleading notices forms demanding to repay cash income
         for the consumer the extension of credit 11/21/2016 consumer credit transaction.

         b. Deception and Fraud: Defendants made false forms and misrepresentations
         regarding the consumer extension of credit prepayment by sending notices
         demanding repayment of the prepaid credit balance.

         c. False Pretense: Defendants used false pretense and deceptive practices to create
         a misleading impression about a debt owed and demand cash payments, thereby
         inducing Plaintiff to act to her detriment.


 (SAG T[ 47.) These three bases are "completely bereft of any background details concerning how


 the supposed fraud was accomplished, who was involved, and when it took place." Wright, 2019


 WL 4013954,at *7; see KZ Ent. LLC v. Sulekha USA LLC, No. 24-0812, 2024 WL 5244479,at

 *6 (D.NJ. Dec. 30, 2024) (dismissing NJCFA claim where plaintiff failed to allege the '"what,


 where, and when' of any alleged misrepresentation by Defendant"). Thus, Count V is


 DISMISSED.

         Next, in looking at the TCCWNA, the Court notes it was enacted "to prevent deceptive


 practices in consumer contracts by prohibiting the use of illegal terms or warranties in consumer


 contracts." Kent Motor Cars, Inc. v. Reynolds & Reynolds Co., 25 A.3d 1027, 1044 (N.J. 2011).




  4 This claim may also be untimely. The only date identified in Count V is November 21, 2016. (SAC ^[
 47(a)). Plaintiff's initial Complaint was filed over seven years later on November 30, 2023. (ECF No. 1.)
 This puts the claim outside NJCFA's six-year statute of limitations. See N.J.S.A. 2A: 14-1. Because it may
 well be that Plaintiff's failure to plead a timely claim is a by-product of her lack of specificity under Rule
 9(b), Count V is dismissed pursuant to Rule 9(b) rather than on statute of limitations grounds.

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 As part of pleading a violation of the TCCWNA (Count VI), a plaintiff must allege, in part, that


 the contract "contains a provision that 'violates any clearly established legal right of a consumer


 or responsibility of a seller, lessor, creditor, lender or bailee' as established by State or Federal


 law.'" Truglio v. Planet Fitness, Inc., 360 F. Supp. 3d 274, 278 (D.N.J. 2018) (quoting N.J.S.A.


 56:12-15, 12-17)). Here, even presuming the Loan and Note constitute "consumer contracts,"


 Plaintiff fails to cite any provision in them that purports to violate Plaintiff's consumer rights.


 Plaintiff merely alleges that Defendants violated the TCCWNA by:

         a. Inclusion of Prohibited Provisions: Including terms in their consumer contract
         that violate the rights of the Plaintiff under the CFA and other applicable laws.
         Specifically, the contract application (Credit Agreement) contained the agreement
         for compliance with the Equal Credit Opportunity Act.

         b. Failure to Provide Required Notices: Failing to provide clear and accurate notices
         regarding Plaintiff's rights under the contract and applicable consumer protection
         laws.


 (SAG ^ 52(a)-(b)); see Rivera v. Washington Mut. Bank, 637 F. Supp. 2d 256, 268 (D.N.J. 2009)


 (dismissing TCCWNA claim where "Plaintiffs have not identified which provisions of either


 document allegedly violate a clearly established right of Plaintiff [] or responsibility of [Lender]");

 Martino v. Everhome Mortg., 639 F. Supp. 2d 484, 493 (D.N.J. 2009) (same). Therefore, Count


 VI of the SAG must be DISMISSED.

                       iv. Failure to Allege an Independent Duty Lying in Tort

         Turning to Plaintiff's tort claims, the SAG alleges three different forms of negligence


 claims: negligence (Count VII), "negligent infliction of mental anguish emotional distress" (Count


 VIII), and "negligent infliction of emotional distress" (Count X). All three claims fail because the




 15 As evidence of Plaintiff's disjointed pleading style, Count VI of the SAG also contains allegations
 regarding "Breach of Warranty under the Uniform Commercial Code (UCC) 53." (SAG ^ 54-57.) Because
 it is not clear to the Court what claim Plaintiff is attempting to bring via "UCC 53," and the claim itself is
 not actually a Count in the SAG, the Court declines to address it any further.


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  PNC Defendants do not owe Plaintiff a duty lying in tort. See, e.g., Saltiel v. GSI Consultants, Inc.,


  788 A.2d 268 (N.J. 2002) ("Under New Jersey law, a tort remedy does not arise from a contractual


  relationship unless the breaching party owes an independent duty imposed by law.")16 In Count X,


  Plaintiff alleges in a conclusory fashion that "Defendants owed a duty of care to Plaintiff to avoid


  causing emotional harm through negligent actions." (SAG ^ 72(a).) However, the SAG does not


  contain any allegations suggesting that the PNC Defendants' duty to Plaintiff goes beyond


  purportedly failing to abide by the terms of the Loan and Note. See Perkins v. Washington Mut.,


  FSB, 655 F. Supp. 2d 463, 471 (D.N.J. 2009) ("[M]ere failure to fulfill obligations encompassed


  by the parties' contract, including the implied duty of good faith and fair dealing, is not actionable


  in tort.") Further, "it is axiomatic that a plaintiff may not recover for emotional distress caused by


  a defendant's alleged breach of contract." Skypala v. Mortg. Elec. Registration Sys., Inc., 655 F.


  Supp. 2d 451, 461 (D.NJ. 2009) (dismissing negligence claims against parties to a mortgage and


  note because parties "owed no independent duty to Plaintiff). Therefore, because the PNC


 Defendants did not owe an independent duty to Plaintiff, the Court DISMISSES Counts VII, VHI,


  and X.


                        v. Failure to Allege "Extreme and Outrageous Conduct"

           Plaintiffs claim for intentional infliction of emotional distress (Count DC) must be


 dismissed as well. To allege a claim for IBED, a plaintiff must plead "intentional and outrageous


 conduct by the defendant, proximate cause, and distress that is severe." Taylor v. Metzger, 706


 A.2d 685, 694 (N.J. 1998). New Jersey sets a "high bar" for a plaintiff to establish extreme and


 outrageous conduct. Peters v. Countryside Home Loans, Inc., No. 15-6329, 2016 WL 2869059,




  16 The parties appear to agree that New Jersey law applies to Plaintiffs' common law claims, and thus, the
 Court will not engage in a choice-of-law analysis. {See, e.g., ECF No. 59-1 at 23 (citing New Jersey law in
 connection with Plaintiff's negligence claims); ECF No. 63 at 7 (applying New Jersey law in connection
 with Plaintiff's civil conspiracy claim).)

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  at * 6 (D.N.J. May 17, 2016). Here, Plaintiff alleges that the "extreme and outrageous conduct"


 committed by the PNC Defendants is "debt collection harassment, foreclosure eviction." (SAG


 ^ 68.) There are multiple cases in this District dismissing IIED claims alleged on the same grounds,


 as "attempting to collect a debt does not rise to a level of outrageous conduct, especially under


 New Jersey's high bar for outrageous behavior." Diaz v. Bank of New York, No. 15-1954, 2016


 WL 111420, at *6 (D.N.J. Jan. 11, 2016); see Peters, 2016 WL 2869059,at *6; see also Francis


 v. TD Bank, N.A., No. 12-7753, 2013 WL 4675398 (D.NJ. Aug. 30, 2013). Thus, the Court


 DISMISSES Count DC.

                     vi. Failure to Allege an Underlying Tort

        Finally, Plaintiffs civil conspu'acy claim (Count TV) must necessarily be dismissed


 because a civil conspiracy claim in New Jersey "require[s] the plaintiff to plead a viable underlying


 tort claim." Dill v. Yellin, 725 F. Supp. 3d 471, 484 (D.N.J. 2024); Brown ex rel. Est. of Brown v.


 Philip Morris Inc., 228 F. Supp. 2d 506, 517 n. 10 (D.N.J. 2002) ("Civil conspiracy is not an


 independent cause of action, and conspiracy liability depends on the presence of an underlying


 finding of tort liability.") Because the Court has dismissed all other tort claims plead in the SAG,


 there is no underlying claim for Plaintiffs civil conspiracy claim to stand on. Thus, Count TV is


 DISMISSED.

        C. FUTILITY OF AMENDMENT


        Consideration of Plaintiff s arguments in her opposition briefing (ECF Nos. 63, 64) and


 even her sur-reply (ECF No. 66) fails to refute the clear and necessary dismissal of all Counts of


 the SAG. Indeed, most of Plaintiffs arguments are simply reiterations of the allegations in the


 SAG. (See ECF No. 63 at 7-9.) While the Court is cognizant of Plaintiff s p ro se status, a number


 of her arguments lack cohesion or clarity, such as:




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        No Debt. The Plaintiff delivered the goods ($170,000 Note collateral prepayment)
         on 11/21/2016. Evidence performance completed and accepted by way of the
         allonge on the Note, is signed by the bank President CEO, J. Kevin Stiff with the
        words "Pay To The Order Of Gateway Group Mortgage. Entails their contract
        terms for their promise to repay principal and interest in the Note, (12 USC 143 la);
        English Bills of Exchange 1882(27(1). Plaintiff tender of payment performance
        was sent to the Defendant(s) for acceptance to utilize the principal interest balance
        to apply to the principal account to setoff.

 (ECF No. 66 at *2.) While she attempts to provide the Court with two separate "Affidavits] of


 Facts," (ECF Nos. 64, 66) to try to cure some of the specificity issues with the SAG, "[i]t is


 axiomatic that the complaint may not be amended by the briefs in opposition to a motion to


 dismiss." Commonwealth of Pa. ex rel. Zimmerman v. Pepsico, Inc., 836 F.2d 173, 181 (3d Cir.


 1988) (quoting Car Carriers, Inc. v. FordMotor Co., 745 F.2d 1101, 1107 (7th Cir. 1984)). Thus,


 it remains that all Counts of the SAG must be dismissed.


        With that said, despite this Court explicitly ordering Plaintiff to file an amended pleading

 "that responds to or cures the defects identified' in the Operative Complaint, (ECF No. 56


 (emphasis added)), Plaintiff ignored the Court's order and instead filed a pleading asserting almost


 entirely new claims against almost entirely new Defendants. Li the Court's review of Plaintiff s


 five different iterations of a filed or proposed pleading, not one has withstood muster under Rule


 8 or Rule 12(b)(6). Plaintiffs chameleon-like approach of changing claims and Defendants with


 each amended pleading has not had any success to date, and it is clear to the Court that permitting


 Plaintiff to further amend would be futile. See Lake v. Arnold, 232 F.3d 360, 373 (3d Cir. 2000)


 ("While [Rule 15(a)] also requires that leave to amend should be 'freely given' a district court has


 the discretion to deny this request if it is apparent from the record that... the amendment would


 be futile.") Further, amendment would be inequitable to Defendants, particularly the PNC


 Defendants, who have been forced to expend time and resources defending against Plaintiffs


 repeat, meritless filings. See Grayson v. Mayview State Hosp., 293 F.3d 103,112-13 (3d Cir. 2002)


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 ("[D]ismissals of frivolous claims do not require leave to amend due to the long tradition of


 denying leave to amend under Rule 15 (a) when amendment is inequitable or futile"); Houser v.


 Donahoe, No. 12-1024, 2013 WL 6838699,at *6(W.D. Pa. Dec. 27, 2013), aff'dsub nom. Houser


 v. Postmaster Gen. of U.S., 573 F. App'x 141 (3d Cir. 2014) (affirming the district court's


 dismissal of a case with prejudice and without leave to amend the complaint where it would be


 inequitable to require the defendant "who already once has exhaustively and successfully defended


 Plaintiffs grievances" to do so again). Indeed, "all that truly remains of Plaintiffs case is [her]


 seemingly unwavering belief that it should and will proceed, if only [s]he can utter the right


 combination of words and legal terms." Houser, 2013 WL 6838699, at *6. Thus, consistent with


 the mandate of Rule 15(a), and in the interests of justice, the Court is compelled to DISMISS the


 case against the PNC Defendants with prejudice and declines to afford Plaintiff leave to file


 another amended pleading with respect to the improperly-joined New Defendants.




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                                        CONCLUSION

        For the foregoing reasons, the PNC Defendants' Motion to Dismiss the Second Amended


  Complaint (ECF No. 59) is GRANTED. The case is DISMISSED against the PNC Defendants

 with prejudice and dismissed against the New Defendants without prejudice, though without leave


 to further amend. An appropriate Order will accompany this Opinion.




                                                             /
                                            ROBERT li^IRSCH
                                            UNITED STATES DISTRICT JUDGE


 Dated: February 11, 2025




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